Case: 1:02-cv-02668 Document #: 11 Filed: 02/18/03 Page 1 of 8 Page|D #:57

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FoR THE NoRTHERN DISTRICT oFILLrNols § t ~ ‘ b -

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JIl\/I TIBOR, )
Plaintiff, ) HAEL
) 1 ctER , U_S_ DIST oBB,NS
vs. ) No. 02(,2668 F*’FCT COURT
)
NATIONAL CREDIT, INC. ) Judge Leinenweber
) Magistrate Judge Denlow
Defendant. )
NOTICE OF MOTION
TO: Mr. John l\/I. Foley Mr. Jim Tibor
Hinshaw & Culbertson 2074 Clernenti Lane
222 N. LaSalle St. Aurora IL 60504
Suite 300 CERTIFIED MAIL
Chicago lllinois 60601 RETURN RECEIPT

PLEASE TAKE NOTICE THAT ON 0 § "‘ O§ , 2003, at 7: 36 a.m., or
as soon thereafter as counsel rnay be heard, I shall appear before the Honorable Judge
Leinenweber or any judge sitting in his stead, in Roorn 1938, the courtroom usually occupied by
him in the United States District Court for the Northern District oflllinois, and present a copy of
Plaintil`f"s Motion to Enforce Payment of Attorneys’ Fecs and to Withdraw as counsel, a
copy of which is attached and herewith served upon you.

By:%@aa&;e
St hanie R. Gas

Name: KROHN & MOSS, LTD.
Attorneys For: Plaintiff
Address: 120 W. Madison St., 10th Floor
City: Chicago, Illinois 60602
Telephone: (312) 578-9428
Firm I.D. No. 33599
CERTIFICATE OF SERVICE

 

I, Stephanie R. Gast, certify that a true and correct copy of the foregoing Notice was
served upon counsel of record by depositing the same on February / g, 2003, in the U.S. Mail
Chute located at 120 W. Madison St., Chicago, Illinois, enclosed in an envelope with first class

postage prepaid thereon.
By: t
Ste hanie R. Gas

Case: 1:02-cv-02668 Document #: 11 Filed: 02/18/03 Page 2 of 8 Page|D #:58

IN THE UNITEI) sTATEs DISTRICT CoURT atm-ta ti ? 2003
FoR THE NoRTHERN DISTRICT oF ILLINols

f t
EASTERN DIVISI()N

JIM TIBoR, 3
C¢e,?“;’¢c`l~a$£ w 3003
Plaintiff ' DlS}DOGBM{
R/C\
vs. NO. 02€2663 C""Um~

NATIONAL CREDIT, INC. Judge Leinenweber

Magistrate Judge Denlow

Defendant.
MOTION TO ENFORCE PAYMENT OF ATT()RNEY’S FEES

NOW COl\/IES counsel for Plaintiff, KROHN & MOSS, Ltd., (“K & M”), and moves this
I-Ionorable Court for entry of an order enforcing payment of attorney’s fees agreed upon in
settlement of this matter. In support thereof, K & M states as follows:

l. Plaintiff brought this matter against the Defendant based on the Fair Debt
Collection Practices Act and Illinois Consumer Fraud and Deceptive Business Practices Act
which entitles the Plaintiff to damages as well as reasonable attorneys’ fees. (See 15 U.S.C.

1692 and 815 ILCS 505/10).

2. On or about October 14, 2002, the parties agreed to settle this matter for
$1,300.00 in damages to be paid to the client, and $2,700.00 to be paid to K & M for attorney’s
fees (See correspondence of October 14, 2002 attached hereto as Exhibit A).

3. This Court was advised that a settlement agreement had been reached between the
parties during a settlement status on November l2, 2002.

4. Despite repeated attempts to procure a signed release from Plaintiff, Plaintiff"s
counsel has been unable to obtain an executed release of this claim. (See Affidavit of Larry

Smith attached hereto as Exhibit B).

 

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5. Despite Plaintiff`s refusal to send the executed release, Plaintiff’ s counsel is still
entitled to payment of the fees agreed upon in the settlement negotiation

6. Inasmuch as K & l\/l’s right to fees is separate from Plaintiff"s right to his own
settlement funds7 it is unreasonable to deprive K & M of its fees because of Plaintist refusal to
execute his release.

?. In addition, Plaintiff has engaged in conduct that has rendered it unreasonably
difficult for Krohn & l\/loss, Ltd. to carry out the representation effectively, and as such,
Plaintiff"s counsel seeks to withdraw as attorneys of record.

WHEREFORE, Plaintiff`s counsel KROI-IN & MOSS, Ltd. prays that this Honorable
court enter an Order enforcing the payment of its attorney’s fees in the amount of $2,700.00 and

allow plaintiffs counsel leave to withdraw.

Respectfully submitted,

By:

 

wStepihanie R. Gast 0 tv

KROHN & MOSS, LTD.
Attorneys for Plaintiff

120 West l\/[adison Street, 10th Floor
Chicago, Illinois 60602

(312) 578-9428

Attorney No. 33599

I\)

 

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EXHIBIT A

 

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October 14, 2002

VIA FACSIMILE 704-3001
With Confirmation Receivec].

Mr. John l\*'t. Foley
fiinshaw E'J’ Cull)ertson
222 N. l_.aSalle St., Suite 300
Chicago illinois 60601
RE: jim Tr`f)or v. Nah'onw:`afe
Dear Mr. Foley:

Please be advised that my client has agreed to accept your offer to settle the above referenced

matter. As we discussed, the settlement is memorialized as follows:
--My client will receive $1,300.00; and

--Krohn § l\'loss, l_.td. will settle its attorneysl fees for $2,700.00 (a figure that we reduced from
over $3,000.00 to facilitate the settlement of this case).

Please have the release and 2 separate settlement drafts forwarded simultaneously to our office.

l trust that this document accurately memorializes our agreement lf not, contact my office immediatelyl
' cer ,
Larry Smith
Attorney at Law

LPs/lps

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MEMORY TRANSM| SS l ON RE PORT

T|L'E :OCT-14-2002 13:36
TEL NUl!BERl: 312?267166
NAN'E : Krnhn and Moss Ltd
F\LE NUMBER : 302
DATE : 0CT“l4 13:35
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END TWE : OCT-M 13:35
SENT PAGES : 001
STATUS : OK
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October 14. 2002

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near Mr_ Fc»\cy:

Ploa:o 'b¢ advis-ct. that my client has agreed to accupt your c>Hur ta settle the above re£¢:renc-ed.
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EXHIBIT B

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lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JIl\/[ TlBOR, )
)
Plaintiff, )
)
vs. ) No. 02C2668
)
NATIONAL CREDIT, lNC. ) Judge Leinenweber
) Magistrate Judge Denlow
Defendant. )

MDA_VI_T

I, Larry P. Smith, being first duly sworn on oath, deposes and states as follows:

l. That l am one of the attorneys representing Mr. Tibor with regards to the above~captioned
matter_

2. That the above-captioned matter settled on October 14, 2002.

3. That on October 16, 2002, I sent Mr_ Tibor a General Release regarding the settlement of

this matter.

4. That I have repeatedly called and emailed Mr. Tibor in an effort to procure the executed
release.
5. That l have spoken to l\/lr. 'l`ibor on several occasions, and each time he promise that his

signed release was forthcoming

6. That I can no longer contact Mr. Tibor as all telephone numbers and email addresses
provided are out of service and letters sent through the mail are also not responded to.

7. That to date, Mr. Tibor has not sent me an executed release, and never called or notified
me in any way that he intended not to sign the release

  
   

By'.
L rry P. Smith
Subscribed and Sworn before me

thisl lig day ofFebruary,2003

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